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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 0:18-CV-61256-BLOOM/VALLE

  ROXANA UMANA,

                Plaintiff,
  vs.

  AMERICAN EXPRESS COMPANY                    AND
  NATIONWIDE CREDIT, INC.,

             Defendants.
 ________________________________________/


                               JOINT NOTICE OF SETTLEMENT

           Plaintiff, ROXANA UMANA,        Defendant/Counter-Plaintiff, AMERICAN EXPRESS

 NATIONAL        BANK        F/K/A   AMERICAN       EXPRESS      CENTURION        BANK,    AND

 SUCCESSOR-BY-MERGER TO AMERICAN EXPRESS BANK, FSB (incorrectly named as

 American Express Company) 1 and Defendant NATIONWIDE CREDIT, INC, by and through

 undersigned counsel, hereby submit this Joint Notice of Settlement and state that the parties

 have reached a     settlement with regard to this case and are presently in the process of

 effectuating the settlement and preparing dismissal documents.          Upon satisfaction of the

 requirements of the Settlement Agreement, as well as preparation and approval of the dismissal

 documents, the parties will file the appropriate dismissal documents with the Court.




 1
    Plaintiff incorrectly named American Express Company as a defendant in this case. The
 parties agreed to substitute in American Express National Bank, the correct entity, in place of
 American Express Company in this case. See Joint Scheduling Report, Local Rule 6.1(b)(2)
 Conference Report, ¶ B (filed July 17, 2018) (DE 11). Therefore, this Joint Notice of Settlement
 is being filed on behalf of American Express National Bank rather than American Express
 Company.


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                          CONSENT OF COUNSEL FOR DEFENDANTS

 Pursuant to Rule 3J (3) of the Administrative Procedures of the United States District Court for

 the Southern District of Florida, the undersigned counsel for Plaintiff represents to the Court that

 counsel for Defendants has authorized him to affix their electronic signature to this Joint Notice

 of Settlement.




  /s/Luis Ugaz                                            /s/Geri E. Howell
  Luis Ugaz, Esq.                                         Geri E. Howell, Esq.
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  Counsel for Plaintiff                                   Counsel for Defendant/ Counter-Plaintiff
                                                          American Express National Bank, f/k/a
                                                          American Express Centurion Bank and
                                                          successor-by-merger to American Express
                                                          Bank, FSB (incorrectly named as American
                                                          Express Company) and for Defendant
                                                          Nationwide Credit, Inc.




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                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically
 filed on September 6, 2018 with the Clerk of Court using CM/ECF. I also certify that the
 foregoing document is being served this day on all counsel of record or pro se parties identified
 on the Service List below either via transmission of Notices of Electronic Filing generated by
 CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
 to receive electronically Notices of Electronic Filing.
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                                                    Bank, FSB (incorrectly named as American
                                                    Express Company) and for Defendant
                                                    Nationwide Credit, Inc.




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                                               /s/ Luis Ugaz
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